
BE IT REMEMBERED:

THAT at the term of the Honorable Court of Appeals for the Tenth District of the State of Texas, begun and holden at Waco on the 1st day of January, 2015, present Chief Justice TOM GRAY and Justices REX D. DAVIS and AL SCOGGINS

In the cause

No. 10-14-00375-CV

IN RE FLOYD PLEASANT TARVIN IV

Original Proceeding

the following Judgment was entered on the 5[th] day of March, 2015:

"Came on to be heard the original Petition for Writ of Mandamus filed in this Court on December 8, 2014, by Relator Floyd Pleasant Tarvin IV, and the same having been considered, because it is the opinion of the Court that the Petition for Writ of Mandamus should be denied; it is therefore ordered, adjudged and decreed that the Petition for Writ of Mandamus be, and hereby is, denied.  It is further ordered that the Relator Floyd Pleasant Tarvin IV, pay all costs in this behalf expended and incurred in this Court."

I, SHARRI ROESSLER, Clerk of the Court of Appeals for the Tenth District of Texas, at the City of Waco, hereby certify that the foregoing is a true copy of the Judgment entered herein by this Court in the above entitled and numbered cause as appears of record in Minute Book 13, Page 405.

IN WITNESS WHEREOF, I hereunto set my hand and affix the seal of said Court at Waco, this 5[th] day of March A.D. 2015.

SHARRI ROESSLER, Clerk


By:     Nita Whitener                                        
Deputy Clerk


